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IN THE UNITED STATES DISTRICT COURT CLERK U.S. DISTRICT couRT

FOR THE SOUTHERN DISTRICT OF IOWA —_ SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, Criminal No. 3:22-cr-42

v. INDICTMENT

T. 18 U.S.C. § 2252(a)(4)(B)
T. 18 U.S.C. § 2252(b)(1)

T. 18 U.S.C. § 2252(b)(2)

T. 18 U.S.C. § 2253

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)
)
)
JUSTIN RICHARD MEZERA, ) T. 18 U.S.C. § 2252(a)(2)
)
Defendant. )
)
)
THE GRAND JURY CHARGES:

COUNT 1
(Receipt of Child Pornography)

Between on or about March 26, 2016, and January 11, 2019, in the Southern
District of Iowa, the defendant, JUSTIN RICHARD MEZERA, did knowingly
receive any visual depiction that had been shipped or transported in or affecting —
interstate commerce, by any means including by computer, and the production of
such visual depiction involved the use of a minor engaging in sexually explicit
conduct and the visual depiction was of such conduct.

This is a violation of Title 18, United States Code, Section 2252(a)(2) and
2252(b)(1).

THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Possession of Child Pornography)

On or about March 12, 2020, in the Southern District of Iowa, the defendant,

JUSTIN RICHARD MEZERA, did knowingly possess one and more items
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containing visual depictions that had been shipped and transported in interstate
and foreign commerce, and which were produced using materials which had been so
shipped and transported, by any means including by a computer, the producing of
said visual depictions involving the use of minors, that is, persons under the age of
eighteen years, and depictions of prepubescent minor or a minor who had not
attained twelve years of age, engaged in sexually explicit conduct as defined in Title
18, and United States Code, § 2256(2), said visual depictions being of such conduct.

This is a violation of Title 18, United States Code, Section 2252(a)(4)(B) and
2252(b)(2).

THE GRAND JURY FINDS:

NOTICE OF FORFEITURE

1. The allegations contained in Counts 1 and 2 of this Indictment are
hereby realleged and incorporated by reference for the purpose of alleging forfeitures,
pursuant to the provisions of Title 18, United States Code, Section 2253.

2. From his engagement in any or all of the violations alleged in Counts 1
and 2 of this Indictment, the defendant, JUSTIN RICHARD MEZERA, shall forfeit
to the United States, pursuant to Title 18, United States Code, Section 2253, all
interest in:

a. Any visual depiction or other matter
containing such visual depiction which was
produced, transported, mailed, shipped,

received, or possessed as alleged in Counts 1
and 2 of this Indictment;
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b. Any property, real or personal, constituting or
traceable to gross profits or other proceeds
obtained from the offenses alleged in Counts
1 and 2 of this Indictment; and,

c. Any property, real or personal, used or
intended to be used to commit or to promote
the commission of the offenses alleged in
Counts 1 and 2 of this Indictment.

3. The property referenced in paragraphs 2, subparagraphs a, b, and c
above includes, but is not limited to, computer hardware such as monitors, central
processing units, and keyboards, computer programs, software, computer storage
devices such as disk drive units, disks, tapes, and hard disk drives/units, peripherals,
modems and other telephonic and acoustical equipment, printers, contents of memory
data contained in and through the aforementioned hardware and software, tools,
equipment, manuals and documentation for the assembly and use of the
aforementioned hardware and software.

4, If, as a result of any act or omission of the defendant, JUSTIN

RICHARD MEZERA, any of the property described above as being subject to

forfeiture:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

C. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or,

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e. has been commingled with other property
which cannot be subdivided without
difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section
2253(a), and Title 21, United States Code, Section 853(p), as incorporated by Title 28,
United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant, JUSTIN RICHARD MEZERA, up to the value of any forfeitable property
described above.

All pursuant to Title 18, United States Code, Section 2253.

A TRUE BILL.

FOREPERSON

Richard D. Westphal
United States Attorney

py: LM hE

Will R. Ripley
Assistant United States Attorney
